           Case 2:17-cv-01731-TSZ Document 105 Filed 04/15/19 Page 1 of 5



 1                                                            The Honorable Thomas S. Zilly
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 8                         UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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10   STRIKE 3 HOLDINGS, LLC, a Delaware            Case No. 2:17-cv-01731-TSZ
     corporation,
11                                                 COUNTER-DEFENDANT’S MOTION
                                      Plaintiff,   TO EXTEND CERTAIN CASE
12                                                 DEADLINES
           v.
13
     JOHN DOE, subscriber assigned IP address      NOTED ON MOTION CALENDAR:
14                                                 April 26, 2019
     73.225.38.130,
15
                                   Defendant.
16

17
     JOHN DOE, subscriber assigned IP address
18
     73.225.38.130,
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20                           Counter-Plaintiff,

21         v.
22   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
23

24                        Counter-Defendant.

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     MOTION TO EXTEND EXPERT WITNESS DISCLOSURE                            FOX ROTHSCHILD LLP
     DEADLINE - (2:17-CV-01731-TSZ) - 1                                  1001 FOURTH AVENUE, SUITE 4500
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
              Case 2:17-cv-01731-TSZ Document 105 Filed 04/15/19 Page 2 of 5




 1           Plaintiff/Counter-Defendant, Strike 3 Holdings, LLC (“Strike 3”) hereby moves to extend
 2 case deadlines, and states as follows:

 3           1.     A scheduling order “may be modified only for good cause and with the judge’s
 4 consent.” Fed. R. Civ. P. 16(b)(4). “Rule 16(b)’s ‘good cause’ standard primarily considers the

 5 diligence of the party seeking the amendment.” In re Washington Mut. Mortg. Backed Sec.

 6 Litig., No. CV 09-37MJP, 2011 WL 13193267, at *1 (W.D. Wash. Dec. 27, 2011) (quoting

 7 Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). Here, there is such

 8 good cause to warrant an extension of deadlines.
 9           2.     Around December 20, 2018, after the Court entered the initial case management
10 deadlines in this case, both parties began propounding discovery. On January 15, 2019, Strike 3

11 served John Doe subscriber assigned IP address 73.225.38.130 (“Counter-Plaintiff”) with its

12 First Request for Production, significantly requesting Counter-Plaintiff produce all computer

13 hard drives used in his residence during the period of alleged infringement. Counter-Plaintiff

14 noted that he would need additional time to produce these hard drives, and on March 16, 2019,

15 the parties jointly requested an extension of several discovery deadlines.

16           3.     On March 18, 2019, the Court granted in part the parties joint stipulated motion to
17 extend dates. The parties continued their discovery exchange. On March 18, 2019, Counter-

18 Plaintiff responded to Strike 3’s Request for Production and disclosed approximately one-
19 hundred hard drives. Further, on April 9, 2019, Counter-Defendant deposed Counter-Plaintiff

20 who, for the first time stated that, aside from the hard drives he disclosed on March 18, 2019, at

21 least thirty other hard drives exist. At this deposition, Counter-Defendant also learned that on or

22 around March 2018, Counter-Plaintiff’s son disposed1 of a computer hard drive which he had

23 been using for a significant amount of time during the period of infringement. Despite Counter-

24 Defendant’s significant efforts, it has been unable to serve Counter-Plaintiff’s son with a

25
     1Counter-Plaintiff testified that to the best of his knowledge, his son “sold” this computer after
26
     commencement of this lawsuit.

         MOTION TO EXTEND EXPERT WITNESS DISCLOSURE                                   FOX ROTHSCHILD LLP
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 1 subpoena for deposition or for production of this hard drive. Strike 3 has reason to believe that

 2 the location of the computer and the data stored thereon is highly relevant to the counter-claims

 3 in this case. Indeed, Counter-Plaintiff’s testimony is that this computer was used in his home

 4 during the period of infringement and was removed from his home after commencement of this

 5 lawsuit. Moreover, Counter-Plaintiff testified that in 2013, after receiving a DMCA notice

 6 (pursuant to the Digital Millennium Copyright Act), he told his son to “cease and desist” the

 7 infringing activities. Counter-Plaintiff testified that his son stated that he “understood” and “that

 8 it wouldn’t happen” again. As such, the computer which Counter-Plaintiff provided to his son
 9 and which was used during the period of infringement is of significant importance to the counter-

10 claims in this case.

11          4.      Since Counter-Plaintiff disclosed these hard drives, the parties have been
12 conferring on the proper protocol for hard drive examination. However, to date, the parties have

13 been unable to stipulate to a protocol. Counter-Defendant anticipates that the parties will be

14 unable to agree and either a Motion to Compel or a Motion for Protective order will be filed.

15 Additionally, assuming the parties can finalize a protocol, it will take Strike 3’s expert a

16 substantial amount of time to inspect, create a forensically sound image (if necessary) of any

17 hard drive, examine the forensically sound images, and complete an expert report regarding the

18 examination of each hard drive. Strike 3 anticipates that Counter-Plaintiff’s delay in the
19 disclosure and production of this highly material evidence will substantial impact the discovery

20 deadlines.

21          5.      Accordingly, Strike 3 respectfully proposes that the expert witness disclosure
22 deadline be extended by sixty (60) days, up to and including June 14, 2019. Additionally, Strike

23 3 respectfully requests that the deadlines below be extended as follows:

24          •       6/28/2019 - Rebuttal Expert Testimony
25          •       7/18/2019 - Discovery Motions Filing Deadline
26          •       8/16/2019 - Discovery Completion Deadline

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 1         •       8/30/2019 - Dispositive Motions Filing Deadline
 2         •       7/18/2019 - Deadline for Filing motions related to expert testimony (e.g., Daubert
 3                 Motions)
 4         6.      Strike 3 does not seek to move the trial date, or any trial-related deadlines.
 5         7.      This request is made in good faith and not made for the purpose of undue delay.
 6         8.      Strike 3’s counsel called Plaintiffs’ counsel, Mr. Curt Edmonson, to attempt to
 7 discuss the continuance requested herein. However, Mr. Edmonson did not answer and Strike

 8 3’s counsel left voicemail but did not hear back. This motion represents an emergency given the
 9 facts and circumstances.

10

11         DATED this 15th day of April, 2019.
12
                                                  FOX ROTHSCHILD LLP
13

14                                                s/ Lincoln Bandlow
                                                  Bryan J. Case, WSBA #41781
15                                                Lincoln D. Bandlow, Admitted Pro Hac Vice
                                                  (CSBA #170449)
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              Case 2:17-cv-01731-TSZ Document 105 Filed 04/15/19 Page 5 of 5




 1                                   CERTIFICATE OF SERVICE
            I hereby certify that on April 15, 2019, I electronically filed the foregoing with the Clerk
 2
     of the Court using the CM/ECF system which will send notification of such filing to the
 3
     following persons:
 4

 5
             J. Curtis Edmondson, WSBA #43795                         Via CM/ECF
 6           399 NE John Olsen Avenue                                 Via U.S. Mail
             Hillsboro, Oregon 97124                                  Via Messenger Delivery
 7           Telephone: (503) 336-3749                                Via Overnight Courier
             Email: jcedmondson@edmolaw.com                           Via Facsimile
 8
 9
            DATED this 15th day of April, 2019.
10

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12                                                Monica Dawson
                                                  Legal Administrative Assistant
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       MOTION TO EXTEND EXPERT WITNESS DISCLOSURE                                    FOX ROTHSCHILD LLP
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                                                                                                    206.624.3600
